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 1   MARIO N. ALIOTO, ESQ. (56433)
     LAUREN C. CAPURRO, ESQ. (241151)
 2   TRUMP, ALIOTO, TRUMP & PRESCOTT, LLP
     2280 Union Street
 3
     San Francisco, CA 94123
 4   Telephone: (415) 563-7200
     Facsimile: (415) 346-0679
 5   E-mail: malioto@tatp.com
     laurenrussell@tatp.com
 6
     Lead Counsel for the Indirect Purchaser Plaintiffs
 7

 8                              UNITED STATES DISTRICT COURT

 9                           NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: CATHODE RAY TUBE (CRT)  )                     Master File No. CV-07-5944 SC
     ANTITRUST LITIGATION           )
12                                  )                     MDL No. 1917
13                                  )
                                    )                     [PROPOSED] ORDER GRANTING
14                                  )                     INDIRECT PURCHASER PLAINTIFFS’
                                    )                     MOTION TO REMOVE INCORRECTLY
15                                  )                     FILED DOCUMENTS, DOCKET
                                    )                     NUMBERS 2574 AND 2574-1
16                                  )
17                                  )
                                    )
18                                  )
                                    )
19   This document relates to:      )
                                    )
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     ALL INDIRECT PURCHASER ACTIONS )
21                                  )
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       [PROPOSED] ORDER GRANTING INDIRECT PURCHASER PLAINTIFFS’ MOTION TO REMOVE
                    INCORRECTLY FILED DOCUMENTS, CASE NO. CV-07-5944-SC
     Case 3:07-cv-05944-JST Document 2613 Filed 06/10/14 Page 2 of 2



 1          Indirect Purchaser Plaintiffs’ Motion to Remove Incorrectly Filed Documents was

 2   presented to the Court. Upon consideration of the Motion, the Court finds there is good cause to

 3   permanently delete Docket No. 2574 and Docket No. 2574-1 from the record.

 4          NOW, THEREFORE, IT IS HEREBY ORDERED that Indirect Purchaser Plaintiffs’

 5   Motion to Remove Incorrectly Filed Documents is GRANTED, and Docket No. 2574 and Docket

 6   No. 2574-1 are permanently deleted from the Court’s docket.

 7          IT IS SO ORDERED.

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 9             June 10, 2014
     DATED: _______________________              _____________________________

10                                               HON. SAMUEL CONTI
                                                 UNITED STATED DISTRICT JUDGE
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       [PROPOSED] ORDER GRANTING INDIRECT PURCHASER PLAINTIFFS’ MOTION TO REMOVE
                    INCORRECTLY FILED DOCUMENTS, CASE NO. CV-07-5944-SC
